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                                                                                   FILED
                    IN THE UNITED STA TES DISTRICT COURT
                    FOR THE WESTERJV DISTRICT OF TEXAS                                   FEB 2 8    2018

                                SAN ANTONIO DIVISION                              CLE:    u.S. 1.)ISTR$CT CLERK
                                                                                   EIfiN D4STRICT OF TEXAS

                                                                                                      DPUTV
UNITED STATES OF AMERICA,                        §
                                                 §
                                                 §
v.                                               §     CASE NO: SA:15-CR-00820 (1) DAE
                                                 §
PORTILLO (1) & PIKE (2)                          §




                                             I) 1 I)

       IT IS ORDERED that the jury be sequestered from when they report to the jury room

each day until a) released by the Court at the end of each day, b) verdict is reached and the jury is

formally discharged by the Court, or c) until further Order of the Court.

       While the jury is kept together and not allowed to separate, pursuant to this Order, the

cost of subsistence of said jury including cost of coffee and other necessaries incurred by said

jury during court recesses shall be paid by the United States Government.



       IT IS SO ORDERED.
                                   28th
       SIGNED and ENTERED February      2018.




                                              DAVID 4. ERA
                                              SENIOR UII4ITED STATES DISTRICT JUDGE
